   Case: 1:19-cv-08454 Document #: 125 Filed: 04/15/21 Page 1 of 2 PageID #:2268




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


  SECURITIES AND EXCHANGE COMMISSION,

                                                  Plaintiff,

  v.
                                                                 Civil Action No. 1:19-cv-08454
  TODAYS GROWTH CONSULTANT INC.
  (dba “The Income Store”)                                       Hon. Andrea R. Wood

  and

  KENNETH D. COURTRIGHT, III,

                                               Defendants.


                     PLAINTIFF SEC’S STATEMENT OF POSITION

        Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this

statement in support of the Receiver’s motion seeking Court approval for the sale of Defendant

Todays Growth Consultant Inc.’s remaining assets, consisting principally of 3,000+ website

domains (Dkt. No. 123).

Dated: April 15, 2021                       Respectfully submitted,

                                            SECURITIES AND EXCHANGE COMMISSION

                                            ___/s/Suzanne J. Romajas_________________
                                             Suzanne J. Romajas
                                             Michael Brennan
                                             U.S. Securities and Exchange Commission
                                             100 F Street NE
                                             Washington, DC 20549-5971
                                             Email: RomajasS@sec.gov
                                             Tel: 202-551-4473 (Romajas)

                                             Attorneys for Plaintiff
   Case: 1:19-cv-08454 Document #: 125 Filed: 04/15/21 Page 2 of 2 PageID #:2269




                                 CERTIFICATE OF SERVICE

I, SUZANNE J. ROMAJAS, certify that, on April 15, 2021, I caused the foregoing Statement of

Position to be served by CM/ECF upon all parties.

                                              ___/s/Suzanne J. Romajas________________
                                                   Suzanne J. Romajas




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